Case 1:04-cv-01126-.]DT-STA Document 40 Filed 06/06/05 Page 1 of 3 PagelD 38

|N THE UN|TED STATES DISTR|CT COURT FOR THE WESTERN D|STR|CT
OF TENNESSEE, EASTERN D|V|SION

 

M|CHAEL G. ROB|NSON and
FREDR|CK J. |VORY

Plaintiffs, 'Q<;g,.zi;,_`

v- civlLAchoN No. 1»04-1126 §§
JuRY DEMANDED

W|LLIA|VI F. HARKNESS, JOSEPH E. z
LANE, JOHN DOEl PERMANENT

GENERAL ASSURANCE CORPORAT|ON

JOHN WlLL|ANlS, R|CHARD A. W|LL|AIV|S.

individually and on behalf of LANE W|LLlAMS,

a minor,

Defendants.

 

ORDER OF SUBST|TUT!ON

 

By agreement as evidenced by the signatures of respective counsel
below, it is hereby agreed that Alyson Chensasky shall be allowed to withdraw as
Counse| of Record for Defendant, Permanent General Assurance Corporation, in
the above»sty|ed cause, and Katherine B. Steuer shall be substituted as Counse|
of Record for said Defendant. lt is, therefore,

ORDERED, ADJUDGED and DECREED that Alyson Chensasky is
hereby permitted to withdraw as counsel for Defendant, Permanent Genera|

Assurance Corporation, in this matter.

This
mh dorcurnent entered on the docket sheet ln corn li
…: Ru.s 58 and/or 79 {a) FHCP on 'OU p ance

a

Case 1:04-cv-01126-.]DT-STA Document 40 Filed 06/06/05 Page 2 of 3 PagelD 39

|T lS FURTHER ORDERED, ADJUDGED and DECREED that Katherine
B. Steuer is substituted as attorney for the Defendant, Permanent Genera|

Assurance Corporation

.t'»
Entered this {[9 "day of %g&v__'~ ,2005.

ama M/

JuDGE(/
APPROVED FoR ENTRY:

SU`) 31 r'_S 1
AL SON CHENSAS #183 3
80 Monroe Avenue, Suite 505
|V|emphis, TN 38103
(901) 527-0634

c\<tt\l/l)_»&>+"“ *

KATHERINE B. STEUER #23911
80 |Vlonroe Avenue, Suite 505
Memphis, TN 38103

(901) 527-0634
041029

 

CERT|F|CATE OF SERV|CE

| hereby certify that a true and correct copy of the foregoing document has
been forwarded to T. Verner Smith, Esq., P. O. Box 1743, Jackson, TN 38302, R.
Dale Thomas, Esq., P. O. Box 1147, Jackson, TN 38302, and John S. Little,
Esq., 106 South Liberty Street, Jackson, TN 38302 via U. S. Mai|, postage

prepaid this _Q_M_*lday of M_ 2005.
Ol<¢M/~ a M\

Ka'therine B. Steuer

 

DISTRICT OU T -WESETR D"ISRICT OF TNNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 40 in
case 1:04-CV-01126 Was distributed by faX, mail, or direct printing on
June 6, 2005 to the parties listed.

 

Alyson Chensasky

PERMANENT GENERAL ASSURANCE CORP.

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1\/lemphis7 TN 38103

R. Dale Thomas

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Honorable J ames Todd
US DISTRICT COURT

